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AO 442 (Rev I 1/11) Arrest Warrant                •
                           Case 2:19-cr-00516-WB Document 9 Filed 11/08/19 Page 1 of 1

                                                                                            •
                                                UNITED STATES DISTRJCT COURT
                                                                  for the

                                                      Eastern   District of Pennsylvania

                  United States of America
                             v.                                     )
                                                                    )           Case No.        i 9-cr-516
                                                                    )                                                                       C
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                                                                    )                                             n,--l            (/)      0
                              Ari Shaw                              )                                              zr-,            ("Tl     '.f}:;c

                              Defendant
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                                                                                                                                            ::;r.,(:'
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                                                                                                                   -<o              CJ       -{i'l

                                                       ARREST WARRANT                                              ·~
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                                                                                                                    >;o             :JC         :~c:-
To:       Any authorized law enforcement officer                                                                    ~r.>
                                                                                                                    J>-,
                                                                                                                                     ~          :r..;
                                                                                                                                                v>
                                                                                                                           ~         er,        :::,,
          YO(; ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested)        Ari Shaw
                                                  -                         -         --
who is accused of an offense or violation based on the following document filed with the court:

[gl Indictment      D Superseding Indictment   D Information D Superseding Information D Complaint
D Probation Violation Petition   D Supervised Release Violation Petition D Violation Notice D Order of the Court
This offense is briefly described as follows:
 18: 1343 - Wire Fraud
42:1383a(a)(3) - Social Security Fraud                                                                           .....••~,~\i. l
18:IO0l(a)(2) - False Statements                                                                          ~'\.          ..
                                                                                                       ,,,...         .:>.···




Date:          09/10/2019


City and state:      Pgila9elphia,         eA                                              _Kate Barkm~1 _Clerk of Court
                                                                                                Printed name and title


                                                                 Return

          This warrant was rec~ved on (date)
at (czty and state)         ?'?'f
                                                       C/-/ 0 -/ f . , and the person was arrested on            (date)            ( /::: / - /,        'f
                                  -"   -


Date:                  I I-    /-/7

                                                                                                Printed name and tztle
